
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and *74the respondent’s Answer.
Claimant, Regional Jail and Correctional Facility Authority, provides and maintains the Eastern Regional Jail, the Central Regional Jail, the South Central Regional Jail, the Southern Regional Jail, and the Northern Regional Jail as facilities for the incarceration of prisoners who have committed crimes in various counties. Some of the prisoners are held in these regional jails have been sentenced to facilities owned and maintained by the respondent, Division of Corrections. Claimant brought this action in the amount of $149,380.00, to recover the costs of housing prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the claimant, these prisoners have had to remain in the regional jails for periods of time beyond the dates of the commitment orders.
Respondent filed its Answer admitting the validity and the amount of the claim and stating that respondent expired sufficient funds in the 1995 FY with which to satisfy this obligation. The parties had a dispute regarding the dates certain court orders were received by the respondent, out-of-court costs, and names of inmates on various court orders, but the parties resolved the dispute and agreed that the sum of $149,380.00 is due and owing the claimant.
This Court has determined in prior claims by claimant for the cost of housing inmates that respondent is liable to claimant for these costs, and the Court has made the appropriate awards. This issue was considered by the Court previously in the claim of County Comm’n. of Mineral County v. Div. of Corrections, an unpublished opinion of the Court of Claims issued November 21, 1990, wherein the Court held that the respondent is liable for the cost of housing inmates.
In view of the foregoing, the Court makes an award to claimant in the amount of $149,380.00.
Award of $149,380.00.
